                   Case 1:20-mj-00990-RML Document 3 Filed 10/23/20 Page 1 of 1 PageID #: 24
                               '# !'# #'%"' !'# $''&' '
-, /)*+ '// "/                                                              & #/( ,,/+(//%  ) /
                    ./                                                               / !$ / /

Kenneth Kurson                                                                        Ž9ٟ̓ŧÀ§մٟ̎    20-990M
ٕ˞Qų   ˟çˠèQ ˡˢˣˤʽٟ ̮фǄC¦Â‫װ‬éٟ
                                                                       µ µ
        ̷×ٟ^;ٟy!ƦOٟͅm̰ƀïƀìٟş*ɾٟ]ٟ¨‫ؤ‬z˥À ٟ-ĈƢĪٟƧ2ٟcĀӟЂLЃٟ֡jωӛ¯VŖٟfՃٟ\ٟ͑ƙĭ,ɞƶٟžÂǳgđٟ ǜmăӹ3ٖd°ٟԛٟĐٟ( ‫ إ‬ɘɰǅٟ,Ⱦٟ@ňٟѢӺӻٗʱɽٟ̏
        ٟ͠✔oٟ ͙b`ٟ͈Єյ֢ՄԜƔӠٟ͏ǆϋɀѰȦҏّΡȧόǆ̧ٟɀȧϮٟ'ĨٟǨ֣ŹѾ-ľٟ ȤǴ"ٟØ1ٟ ÎĀƣKٟŗٟĚӼٟŉõ].ƷŧĚ!Dٟ Ļŀ ö/­đȩǣÓٟ+ɱٟ ղťėəЅ˂ٟ 8ٟ
        ٟ͡ oٟ ͚b`̨ٟՅȦϯٟ!‫ؿ‬3uj‫ׅ‬EٟƨŮٟ5±ٟϰ3Ǚ2ĮûκٟҐԝٟʍFāٟpÀ ؐ‫׆‬ٟɋхʺٟͶ100,000  ?                     ͷ ٟٟٔ@įEٟ
                e÷ʟÑǇ­ٟƩ‫م‬ٟ >ٟ ٟͬџȨ΢Ƚύ_ƕĞĝPٟնІLÎËÃ©ȌzٟŦ8"Řė-ÔٟӏÔØ#ϱٟ©$GaūٟTĨǃźɚٟƉٟ ٟͭvaӽȖ Ù ֕ӡٟ֤ ٟĺ̉‫ׇ‬ĊٟƪЇHŬ˷ٟ
                                                                55d¯ u)mµ v6e fwµRµ=n>)>µ
       ͔ѿ²ٟſ(ßٟѡ6­ǵȭ¹ٟǩqÚٟÏ0ȍ ƖɲЈٟʘx¯ĽٟfҀЉٟƄÛĿƸٟëıԞû¿ґ'Ä:ٟ`цٟm!Ě{,Ŋǈٟ&ٟhǪ$ٟɛʤ Ľ֥Њٟ‫ش‬ǶԊԋٟÅ‫׈‬ٟU‫ن‬ٟŘǫ ĠŎ2Ȏʥ³ɳٟŁz+ŋɁĩqƫȏ‫ه‬ٟAɴɵؑշ ٟĊ ٟ
οɗЋ ľ ÊƳ4ٟĲǚٟď"ٟWǉǟćԟü į‫׉‬ٟ¥ÃǃźÐٟ=Ăٟ¸ć ؏ٟǚٟË5#ոٟɒā ŊԠŋٟ,ȱٟ‫ײ‬ٟώ1ĠԌʣÉҒŮæ̸ٟƇٟƁ̵ٟ͛m̶͕̳mٟ͆ïì̱ï̴ìٟ;ٟѣȖÌ‫ص‬ŉٟ̐
>ٟ✔oٟ ̊˸ٟ Ƈǫ.ٟý¸тÆ¡&ɿٟġ֦ؒٟĿ¯țΣғJٟٟ¢ÆXٟģTOٟ&ՆÜٟG#‫ئ‬ٟiF.ٟѤӾȗɂū¾ ѱٟ óŌٟä <»Ëʙٟ̪` ٟդ´֚ō½1ȩٟ̑ >ٟ ٟ̽̈́|ŬٟƈӜٟŽ_O̜ٟ ٟ͢ ٟͮ͂ԡѲٟ̹9IƚԢC˃ٟíƈ̝ٟ
                                                       continental
          ٟͣ oٟí‫ض‬ٟ͟ ȋٟnAµ̞ٟ ٟ ٟͯíŭٟ̾ăչÕO̟ٟ >ٟ✔Ɗٟ˦ ˧ųQQ U.S.              ٟ٘ ĭüٟ(ΤŨZěٟʎ ٟ¢ȲٟǠ֔ĳȜٟŜ¼ŎٟëĴŤɛ×ٟ®ٟʀҁٟեպȝĒŢŢýٟ*(ǈÓŴٟ
>ٟ✔Ͱٟ ̋éٟ ͘ҍ|ٟDЌǛ¶ȬXΥԣʁٟĢťʂٟ‫ا‬ҔEٟIٟø Äf@ªfٟŬēʃFٟɿċٟ¸ӿȐ äҕJºٟɜdĴÅŕٟĵɝٟ3ԤÝǷ< $֧ٟ̒ ͸͹ͺ
                                                                                        victims who     will be identified
                                                                                                  ͻ              ͼ Ə  to defense counselͽٟ;ٟ
               by the government
           ͖Č³ٟϲЍĉćȪՁ‫׊‬ٟĥʚʄٟS‫ب‬ɃҖYٟTٟԥ×ٟºÌٟÙՇٟÅPٟчٟŞ]ǄٟіɑɁʭҗǤٟHÍϏƔÞȀ1Īɶٟ̓ƐƑ))))ñ?                                        ͿƏ         ٟ ٟ
                                                                                                                                                            ΀
✔        »[ٟƹ[ǡ&ó<ٟԍؓLgٟʛ֖ÒǊīŀٟ*ȘԀٟƗ;LɓɄÒ9ٟ‫׋‬ĳٟîµ؄ҘrٟƅɡŨҙ«;ٟƨ‫و‬ٟƒƒ     ̉ź̋ ΁ٟpٟÃɂřٟU‫׌‬Φ^ÉٟĲʈǬǉŅٟɲ;ņŗ;ٟɅŁٟǿÅŗ֜Ƙ‫׽‬ՈԦιěٟ؅¤‫ة‬ǋӢٟY'ƭʙԙ!‫׍‬:ŵٟ
  ✔ ̌Ŷ       5 ٟϳ ǡԧΧ&ʅٟҚɷٟɓIƮ[WٟؔȫYǌ7ٟ‫׳‬³ٟōʜbЎɢŪқɰҜĶÇٟķшٟŚ»/ٟƃջ0ʖ^HٟǍŁŪǸ¬.Lٟ̣%ȬvůٟdؕBӕĄϐ‫׎‬ٟ‫׏‬ɆٟʅĊЏٟnАùҝӣٟžȭDҞśҟÈŏٟՉԨٟř5ǎٟռ}ʦս֨ٟSÇþٟ̔
        ✔    +ŵ Ĕɸٟe‫¨ؖ‬ӖúÞٟgɇٟłC`ȣٟũǹ֩Ҡʆ֪ٟB ʷٟAٟ͉ /؆ҡrӤٟƄ#8ʥǺv$:ٟўӒù"łٟTŜٟƺїƶ¡ʾŏٟŃ$ÕĘW¶ȮƯ!ٟ,Æǁ̇(ٟզĜ«ǇٟÍщٟ‫ط‬Պվӝ̠
        
        ✔      ƪŶ ģ‫ؗ‬ŐhٟÑ$Ջɪʋٟٟ✔ Ɗٟ@MٟÒϑʇ®ٟπ‫ى‬ٟƃÑ3ʖҢٟnǌ7ʪңøǏMٟտٟRٟ oٟǻ&ٟէ³ɞ֫ĴȯٟٙÙĒĢБőٟրٟ΂΃΄ٟ ƟՀEŻ ɠٟ ٟͤ ͱٟƦŰٟ‫א‬ӥ[ɔȰ ΅ٟ‫׾‬Ȟɷٟb2ɘٟΆñ·
       ٟͩ ӫ    w˹ Ԏ‫ؘ‬9‫ב‬ٟĨƻ %ٟٟ ðٟ‫ג‬В֬ Âѳ˄ٟ ٟͥ ٟ̿ $ʤrIʢóĔ1ԩٟȼŻĹKٟRٟ Ǝٟ iɭГtáȟ-ٟѥɟٟŒN¨֭ʈ¦6ú$ٟ§‫;ؙ‬Д˅ٟĔİϭğʝҤ%ٟ+ğƲɈċɉH_ŊԏˆٟɺٟXǻɠyª[Dٟρʲٟ͍Еɚҥ Ӧٟy7ʩҦư2ɳ˺
             ŷ ȝʞœʉٟN&®°%'ٟ4‫ت‬ӧʝŖĶÇٟCٟ‫ד‬ɡqÜȜЖĬٟѦɢٟȟ4ÈßΨٟ҂´ôGã]ٟɖ(ςǏԐŔˇٟôٟ֮EӑKƴfٟσkٟ͊Ņ±؋^¦ĜٟƆЗÒʨҧ¬ǎŔ˻
       ٟͪ Ӭ    ~˼ Ҩ9ٟ ֯ʟϊИƱٟŝՌٟř҃"ٟѧHԁՍʮǼȱѴٟȐɊwǺՎȲٟĽÖ؇ĕu‫ ¾ה‬ȳٟł1ѻԑٟäҩŞٟĝՏuƙ‫׿‬ԪٟĤJę‫ו‬ĸցǼȴѵˈٟɹٟEҪɣ}ª=Ƽٟ§kٟ͎#‫ז‬c½¡Țٟną֘‫ز‬ȅøǐְ̕
                  ƋٟՐĥǔٟ ÷ľϒ8‫؀‬ȵ̖ٟЙÔ،Ưʊ ٟ‫ח‬ٟ҄Ƞ ٟٟƕĞԂٟÛҫȞǐŐˉٟā‫ـ‬ϓɕşٟǟĺɤٟƚh֝ ʳٟũȉֱҬʊɱˊٟϔ‫ؚ‬ÏʐٟÎĆŇÇwŎٟλDٟȶ#ϕК+ɜåٟĦЛϴĖϖΩӨٟ؈МA=ĦǊԫâ̡
               ٟͦ ðٟ҅Ɉġ ٟǀ#ǗgǽՑ̗ٟ ɥ.ֲ7^ϗ‫ ט‬ٟÝ ٟčȡ{ٟ£‫י‬ٟΪȗȘٟŠҭħˋٟ‫ف‬õ3ٟĺKٟ¤<á'֞·Űٟ‫ث‬ɴǾʁœæٟϘʞʉٟƛըɖ"tņƠϙ4ֳˌٟÀDȁϚٟ؉°‫؂‬Ԭʋˍٟ RْٟٟɥǑȔǥɋٟe"7ʧҮϛ±Ōˎٟ
                    ٟͧ ƋٟħթӗȢ ĭ‫ˏך‬ٟ ٟ ƌٟMV5ıՒĞٟaٟʗ¥_ԭ¿6%ːٟRٟ ƍՓŠďНւٟƱšŨǿg/Mٟժ ɍʧ2Yٟτ‫ي‬ٟîɦО‫؍‬ȂSٟǖɧʦүV-dˑٟ Rٟ Ͳٟ ò              ٟ
                                                                                                                                           Έ
       Ɖٟ ͳٟ   Ϝ‫آ‬ј‫̘ظ‬ٟ փ ňʆ đϝ‫כ‬ПÿٟɌٟ҆ ģǒٟ‫(ج‬kٟϵƜًٟѬȢٟ ΉƓ Ɠ               Ίٟ ʌٟ ò΋Όٟ æٟ7ٟ ٟͨ ƌٟ*:ٟ¾Ň0Ϟ<ZƺٟUPٟ͋ɧ·hɯȊ+ȑٟn֠Ұϟ;ŷ
       >ٟ ƍٟ   ̯ǅǢÄCJ‫ל‬ٟĠʠִʍ̢ٟٟ͌̀+ԃԄٟɝٟÎs8ٟķъٟ‫״‬РٟõɍŕşٟՔыٟ ȷåٟք ճ‫؛‬ұɨ{Xٟ=|Óàǵȷǥűٟʨsөʡ,ŘȀ ԮŲٟ؊ Ɲ‫؃‬ԯʎٟ£ȸ϶Ź`ٟȒɐϠAŚē1ÆٟԒıȹʏՕǸǦٟʯҲʒٟĻօeՖ԰@IٟǠ‫؟‬ȺƽŔ˒ٟ
               B£ɺСxٟʢ &ٟ¦BĖӪǳOٟٓ‫'ם‬ٟիƘOٟAőٟ ý~‫֛מ‬Ӕ/ƾٟ§ůٟ‫ן‬ǪТٟë՗‫֗؜‬ʔٟΫīٟʕٟîń ؎ȓٟ͒{ŪҳϡǍ:ٟê%·Vٌ˓ٟAẌٟ ŃٟѭÍԓٟάʩ¤ҴȔ¡©IzٟȁÉֵ‫أ‬VУ˽ٟ
>ٟ ðٟ ̍˾ٟ ͇àĎɩٟ̫ȂҵĲֶ̙ٟ

                                                                      µ µ
̺˔ٟ‫׵‬ǒٟNϷ-cň_Ѷ0ûٟ®ФǢϸȻŖ˕ٟȻDٟƞ«»ٟɼʛKµʴٟŭǬٟҶ9ٟh\ҷŒٟB՘Y˜ٟέuȋȵɎ‫ع‬ӭХϹѷ ٟÞĎßٟ̻ٟ¼ή‫ح‬Ǔ˿ ٟֆ2TǂٟâFǷ9ٟ̤ɕɔǔɬ ȳƵٟ̩ȮYٟ,Ųٟμٟ҇ίʪЦٟ´Ҹ‫׶‬ĆÐٟ °tƿٟΰԅٟ
‫[׷‬ٟÞǮ#ŅٟϢԱЁàǹɇJeٟËьٟ ԆSٟ8ٟď‫خ‬Zٟǭ*ƽٟ\'ɸĂٟƲԲƹҹǴÉÔٟ‫ق‬լĜ¢ҺJ²ٟ̀ƁٟѯčևٟƟϣӞɌäсϺ%ЧٟŝFôٟƂٟ īCٟÁʴٟbZ7ĵÈ Gٟņу ɪ·ŕ<Ơ‫˖ַد؁‬ٟӘՙһʳٟȹþٟ
ɹ‫֙~ذ‬HHůűٟƝɨٟυ ‫؝‬Գϻٟʌٟխʵٟŝ¼4ٟ͜ȸĕ‫נ‬Ǖٟƅʇ*ǖٟɊǜٟ̥ȣǗֈȃϤơٟ‫!҈ס‬ٟMŦԔٟэʻ΍    ́ ٚ˨ç˩              ٟٛĪϼٟÜ5@Ûٟ‫ע‬ǮҼָٟUӮѸ,ŢǽĶ6ٟ¿9ٟ ֹĆwʚ֒¶üٟʯҽàҎٟʂ5ٟB0ӯʰ
ėԴ..ʃٟԵٟÝٟѨԇșɎŭĘȶºٟɒ ĸļĄcPٟˀʸ̬ȌȏÜШɮηӰʹˁٟʮǯȄϥǰٟƂٟ /ծɫ ±Զ‫ף‬ٟҾֺ̆ ɦЩٟѮµЪٟƢǀٟvȑSɤٟaĈ ȓҿ#ԷŌٟ0‫ك‬w4śٟƤֻٟi!c‫ؽ‬ӀÓٟȅĮWӁϦ£‫פ‬ЫXٟ̚
         ʹٟϧ :Đٟy1ŒӂÚǓٟӃԸٟ<FЬٟ͐.%ÕʗPٟǝٟٟſɆʡšٟӄԹٟá ٟŐ‫ؠ‬ȡٟĈʼ̂Ɛ
                                                                     ٟ ?)))ƑñΎٟٜٟ
      Rٟ ͵ٟŇ ĥȆɻ¯ɻٟȕƳsʀ.ٟ*ʄ̛ٟΏΐΑΒ?                 ΓΔ?Εٟ ̃՚‫ &غ‬ƸٟUٍٟò?Ζ))ΗΘΙΚΛ                                      ΜΝΞ?ٟΟٟ
      ٟͫ Ǝٟ̼ٟαȍőĸٟ Ǧɫ-"ٟŚٟ$‫ل‬ąuʘ<ٟ@ٟ¬ǛeӅȼٟǝٟәNEѹȠ h˝ٟԕĹKɾºqǣЭٟŀٟȚӐĄٟ ȆԺٟѩɮġٟƣļ֓ ʬzCٟƫʲٟʓĐЮٟ̄͝ƆŴٟêÙãĳ֟ЯPٟūǰӆöǭٟɼ҉șӱٟφ0ٟϽjӲَٟѠG4ٟʰ¿]ٟʐҊăٟ
      ļÏկ38ٟƴƜȎٟνٟ ּßgǑٟTNi\ ^‫ץ‬Ė!:ٟɏٟ'Ïٟ©аɣбٝ˪˫QQ   è                     ˬç˭ ˮ             è˯
̲Ƥưٟa‫س‬Ԛ։ٟ՛Ǟٟʕٟqχ1ʫٟ̭ɏԈȕ+Ş2ɯٟǧ8!"ɶٟ6Ìٟ=՜ٟLǋGȒٟF²ٟ(ɗ}(áå˗ٟƛI՝ʭٟю‫ء‬šǩвKٟVĝĕÁÖٟɐɬٟгԻúÁƬ pȨϨĀֽٟٟƩ}ٟȤrǘٟpѺSǶȰÕâٟӇʑ˘ٟĹ֊ٟĵٟξُʔēȯǤٟ'ٟ
(´Wjö4ٟ¾Ú‫־‬ٟʫβěŤ$ٟ‫ػ‬Ǳӳ|ٟŠĎ½Öٟ̦հńsÄϩдٟżįٟ :ٟӈٟ/ѝ"vśŸٟ
     5ӉɵٟêĻձĿθʿȺ¬ ٟżԼxٟԖʶٟBеٟ֋љ½Ŝ Ƽٟӊяٟ×Č ٟZњİãٟƥӋӴٟ‫צ‬ٟϪķĤbӵPٟ‫ؾ‬ÝǨٟγȽkٟѐٟ‫ק‬Ǳ/ٟªȾƾȇ‫ר‬ę6ֿٟŏʏٟѪ֌‫׸‬ٟδψ՞‫ر‬ٟtȴǁٟٟċжٟ
ɟʬ|֍ō~ٟ̅ ǲ0ٟϾзћ6xÊţٟrþٟpOٟ‫׀‬ʜ֎ą‫ױ‬Űٟ‫ؼ‬ҋ՟ٟ\+ŉׁٟǾѼÿٟʑҌȇŋٟѫĤٟtӶMٟ%ɩи~ٟǯ‫ש‬ٟ‫׹‬ٟϫ'ŧ֏ٟԗεŮٟȈԘĢ Ȉʒ-kٟɅcǂ ֐ٟÛ¼йٟƖħʠ=ٟǞٟ‫ ׺‬ٟƬɉԽٟdŤŃ кȿлÐyƷٟ
‫ ת‬ٟČ¶ٟ͞ȫȉ‫׫‬0Ͽٟ͓ÚsĂÖ˙ٟȄÂ«ԉʣÿӌ6¹ٟζJِٟMϬj ĒØkٟ¸ɑ ٟ]#ٟUԾЀ˚ٟӍёٟ‫׻‬ٟƻќx*ĩٟђƥęGׂٟãՠٟùÌÁӷʶٟʱȊ=ٟ‫׼‬мٟơƧaũ-ٟƞѽноȥÃţéٟ͗ǘٟ÷աťəٟȥ¢ʷٟ,ӸLբٟÍÐп ٟ*ٟ
Ӛ‫؞‬¹ĦрÊ‫׬‬ٟɄѓٟĉ7Ǚ _jɭǕٟ¥ǧ¤ӓĩœţٟf\ ٟє&­¥Įٟ ՂWٟ %İ‫׭׃‬ٟƵǲٟׄNÑ3âåٟĉ֑ٟi²ٟ/ȿ=ȃńٟƗțNĬ‫׮‬ٟɃѕٟičZٟ¨գȪ˛ٟӎԿƭğŦƿ¹ٟÊʵٟĘÈ‫}{ׯ‬dʓٟĬٟƮ ØɽŸٟ
                                                                                                                                            

&                              O46>7BDL                          N                      
                                        OJ<8GO

             !"             #$!O   55@8CDMOO%        #&'                                      $$(!O)O
                                    OKA9HO
                                          H

*+                             O      66?:EFO,
                                       66?:EF             -    ./               0                           23O
                                                                                                                         1222O
                                        OK=;IO
       *3l|²o?7]@µ¡^+¢µµ,rµ£_?µ6AXx8-v¤ gyµ¡_hµ4+Bµ)z7µ¥`.¦µµ,s -³+CµSµ§`Dµ4{6i°{µT EpF/Fµ+|9µ Uµ¨aEµG}*n¬dHµ0~:µ14©kµI©
    µ*3l|²o?7]@µ¡^+¢µµ,rµ£_?µ6AXx8-v¤µgyµ¡_hµ4+Bµ)z7µ¥`.¦µµ,sµ-³+CµSµ§`Dµ4{6i°{µTµEpF/Fµ+|9µ Uµ¨aEµG}*n¬dHµ0~:µ14©kµI©µ
Zªbµ
Zªbµµ«`Jµ\¥µ.;µC±KLµj<Mµ  V ¬`dµ[tµ
         «`Jµ\¥µ.;µC±KLµj<Mµ Vµ¬`dµ[tµ
                                                                                         s/ Kenneth Kurson by RER
                                                                                                                                                    
                                                                                                                                                       
Nq?-O Wµ­aPµ ?Yw5)w®µkµcMQQ
Nq?-OµWµ                                     A6µµ
                                                A6µ
                                                A6    10/23
                                                    µ                  20(µµ
                                                           !!!!"#$%&µµ µ'
                                                                          '(µ

Hon. Ramon E. Reyes, Jr.
˰˱l˲˳ll˴˵˶            ˶                                MJ
                                                     Πٟ
                                                    
                                                                                  .0'41$7     -7 %5,7    7 (2* 7 )6/7   &!+&7"#37
